                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                   Case No. 19-CR-198-2-JPS
 v.

 ERIC BRADLEY,
                                                                   ORDER
                      Defendant.


       On August 16, 2021, a one-count Information was filed charging

Defendant with possessing a controlled substance in violation of 21 U.S.C.

§§ 841(b)(1)(B), 846. (Docket #93). On August 17, 2021, the parties entered

into a plea agreement as to the single count of the Information. (Docket #94).

       The parties appeared before Magistrate Judge Nancy Joseph on

September 20, 2021 to conduct a plea colloquy pursuant to Federal Rule of

Criminal Procedure 11. (Docket #110). Defendant entered a plea of guilty as

to the count in the Information. (Id.) After cautioning and examining

Defendant under oath concerning each of the subjects mentioned in Rule

11, Magistrate Judge Joseph determined that the guilty plea was knowing

and voluntary, and that the offense charged was supported by an

independent factual basis containing each of the essential elements of the

offenses. (Id.)

       On September 20, 2021, Magistrate Judge Joseph filed a Report and

Recommendation with this Court, recommending that: (1) Defendant’s plea

of guilty be accepted; (2) a presentence investigation report be prepared;

and (3) Defendant be adjudicated guilty and have a sentence imposed

accordingly. (Id.) Pursuant to General Local Rule 72(c), 28 U.S.C.



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§ 636(b)(1)(B), and Federal Rule of Criminal Procedure 59(b), the parties

were advised that written objections to that recommendation, or any part

thereof, could be filed within fourteen days of the date of service of the

recommendation. (Id.) To date, no party has filed such an objection. The

Court has considered Magistrate Judge Joseph’s recommendation and,

having received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge Nancy Joseph’s Report and

Recommendation (Docket #110) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 7th day of October, 2021.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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